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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION



APR, LLC,                            )
                                     )
      Plaintiff,                     )
                                     )        CIVIL ACTION NO.
      v.                             )         3:12cv1019-MHT
                                     )              (WO)
AMERICAN AIRCRAFT SALES,             )
INC.; and JET TOLBERT,               )
individually, and as an              )
agent, servant, and/or               )
employee of American                 )
Aircraft Sales, Inc.,                )
                                     )
      Defendants.                    )

                            OPINION AND ORDER

      Plaintiff      APR,    LLC    brings    this     lawsuit     against

defendants American Aircraft Sales, Inc. and Jet Tolbert

for injuries arising out of the purchase of a Cessna

aircraft facilitated by American Aircraft and Tolbert.

APR asserts a number of state-law claims, including breach

of   fiduciary     duties,     promissory      estoppel,     negligence,

fraudulent      misrepresentation,          fraudulent      suppression,

unjust enrichment, conspiracy, wantonness, conversion,

equitable      estoppel,      and    breach     of    contract.           The
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jurisdiction of this court has been invoked pursuant to

28 U.S.C. § 1332 (diversity of citizenship) and 1441

(removal).

       Now before the court are four motions: APR’s motion to

remand; American Aircraft and Tolbert’s two motions to

dismiss for lack of personal jurisdiction and failure to

state    a   claim;    and    American    Aircraft     and    Tolbert’s

alternative motion for transfer of venue.             For the reasons

that follow, the remand motion will be denied and the

alternative transfer motion granted.



                             I. BACKGROUND

       This case arises out of the purchase of an aircraft by

APR,    an   Alabama   company    with    its   principal     place     of

business in Opelika.         APR contends that, while it believed

that    it   was   being     shepherded   through     the    purchasing

process by a responsible broker, it was instead being

duped into paying a higher price so that the company it




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believed was brokering the transaction could profit at

APR’s expense.

    In March 2012, while APR was in the midst of its

search for a corporate aircraft, one of its employees

found a 1984 Cessna Citation S/II listed as available for

sale on the website <www.controller.com>.                  The listing

provided        a       link        to       another          website,

<www.americanaircraftsales.com>,            which     is    owned       and

maintained by American Aircraft, a corporation organized

and existing under the laws of Florida.               On its website,

American   Aircraft     describes      itself    as   a    “prestigious

aircraft brokerage firm” that uses its expert assistance

to help buyers navigate the negotiation and purchase

process.     The Cessna itself was not owned by American

Aircraft but by a company called Lewis Air Fleet.

    An APR employee contacted Jet Tolbert, an American

Aircraft employee, who assured him that he would help APR

get “the best deal.”       Compl. (Doc. No. 18) at 5.            Tolbert

sent APR some of American Airlines’s marketing material.



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After some discussion between Tolbert and APR, Tolbert

recommended that APR offer Lewis Air Fleet $ 1,050,000 to

purchase the Cessna.       Although APR asked if a lower figure

would    suffice,    Tolbert     insisted      that    this    was      the

necessary sum.      APR agreed to make the offer.

    Tolbert began to aid APR in the purchasing process.

He instructed APR to wire a deposit to an escrow company

that he had selected, and he promised to present APR’s

offer to Lewis Air Fleet once the wire transfer was

complete.    Two APR representatives flew to Jacksonville

International Airport in Florida to inspect the Cessna.

    On   March    28,   American       Aircraft    made   an   offer to

purchase the Cessna from Lewis Air Fleet for less than APR

had offered to pay; APR was unaware that American Aircraft

had taken this step.       Shortly before closing, APR learned

that American Aircraft would actually become the owner and

the seller of the Cessna, but was informed that title was

merely passing through American Aircraft.




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    APR now alleges that Tolbert and American Aircraft

actually used APR’s financial resources to purchase the

Cessna for a lower price and then sell it to APR for a

profit; APR further alleges that Tolbert used information

that he learned from APR to negotiate a contract between

Lewis Air Fleet and American Aircraft, and he used APR’s

deposit (which Tolbert had APR wire to an escrow account)

to make a deposit on the Cessna for American Aircraft.

    In addition to the bad deal APR alleges it received at

the hands of American Aircraft and Tolbert, APR alleges

that the Cessna had defects when it was delivered.                      APR

alleges that the Cessna’s systems and avionics were not

“functioning normally to manufacturer’s specifications”

and that it was “not current on its factory-recommended

maintenance program.”        Am. Compl. (Doc. No. 18) at 12.




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                           II. DISCUSSION

                       A. Motion to Remand

       APR initially filed this lawsuit in an Alabama state

court.      Shortly    after      filing,      American     Aircraft      and

Tolbert removed it to this federal court pursuant to

28 U.S.C. § 1332 (diversity of citizenship) and 1441

(removal).      APR now moves to remand this case to state

court pursuant to 28 U.S.C. § 1447.

       Federal district courts have original jurisdiction

over    civil   actions    where    the       parties     are   diverse   in

citizenship     and    the     amount         in     controversy     exceeds

“$ 75,000, exclusive of interest and costs.”                       28 U.S.C.

§ 1332.      APR does not contest that the diversity-of-

citizenship requirement is satisfied; instead, it disputes

that     American   Aircraft       and    Tolbert        have   adequately

established     that      there    is     a        sufficient   amount    in

controversy.

       Because APR did not specify the amount at issue in its

complaint, American Aircraft and Tolbert bear the burden



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of     establishing       the        jurisdictional      amount     by     a

preponderance of the evidence.                See Lowery v. Alabama

Power Co., 483 F.3d 1184, 1208 (11th Cir. 2007).                   To that

end, a removing defendant “may submit a wide range of

evidence      in    order       to     satisfy    the    jurisdictional

requirements of removal.”             Pretka v. Kolker City Plaza II,

Inc., 608 F.3d 744, 755 (11th Cir. 2010).                  This includes

“affidavits, declarations, or other documentation.”                       Id.

The evidence presented may be “combined with reasonable

deductions, reasonable inferences, or other reasonable

extrapolations” to meet the defendant’s burden.                     Id. at

754.

       Here, American Aircraft and Tolbert’s evidence is

fairly    straightforward.             Principally,     they   submit     an

affidavit from Tolbert stating that American Aircraft had

bought the Cessna from its original owner for $ 850,000.

This statement was supported by a purchase agreement and

aircraft acceptance receipt, which were both attached as

exhibits.      Because, as described above, APR purchased the



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aircraft for $ 1,050,000, American Aircraft’s gross profit

was $ 200,000.         Tolbert also explained in his affidavit

that,   when   American     Aircraft     brokers     the   sale   of    an

aircraft    with   a    market   value     between    $    850,000      and

$ 1,050,000, the normal commission rate is 5-8 %.                        An

earlier brokerage agreement that American Aircraft had

with the owner of the Cessna at issue in this case set the

commission rate at 5 %.          Given these rates, even if APR

expected to pay the highest commission rate within the

normal range for an aircraft with this market value, the

potential      damages     in    this     case     would     still       be

approximately $ 132,000, well over the $ 75,000 mark.1

Tolbert’s affidavit and supporting documentation, combined

with the reasonable inference that American Aircraft would



    1. The court arrived at this estimate by assuming
that APR would have paid an 8 % commission (because doing
so would yield the lowest amount of damages). At that
rate, the commission paid for an $ 850,000 aircraft would
have been $ 68,000, making the total paid $ 918,000. The
$ 132,000 figure reflects the difference between what APR
would have paid had it been given the deal to which it
alleges it was entitled ($ 918,000. )and what it actually
paid for the aircraft ($ 1,050,000).

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have charged a commission rate within its normal range,

suffice to establish the requisite jurisdictional amount

by a preponderance of the evidence.                   APR contends that

this court should discredit the evidence that American

Aircraft and Tolbert append to their amended removal

notice because it contradicts statements they make in

their motion to dismiss.             Specifically, APR cites three

instances       in    the   dismissal     motion    in   which    American

Aircraft and Tolbert point out that the APR has not

specified what damages it has suffered and that the amount

of damages is therefore unclear; APR argues that these

statements reveal that American Aircraft and Tolbert do

not     know    whether     the    amount    in    controversy      exceeds

$   75,000.          However,     American   Aircraft      and   Tolbert’s

accurate assertions that APR did not specify its damages

in no way preclude American Aircraft and Tolbert from

presenting evidence to establish what those damages might

be.




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    For these reasons, APR’s motion to remand will be

denied.



                   B. Motion to Transfer Venue

    As an alternative to their motion to dismiss, American

Aircraft   and     Tolbert   ask    this      court     to    exercise   its

discretion pursuant to 28 U.S.C. § 1404(a) to transfer

this action to the United States District Court for the

Middle District of Florida.              Because a transfer of venue

would render unnecessary a ruling on the merits of the

dismissal motion, the court will address the alternative

transfer motion first.

    As an initial matter, APR argues that, pursuant to

Federal    Rule    of     Civil    Procedure      12(g)(2)       and     (h),

American Aircraft and Tolbert have waived their right to

request a change of venue by not arguing that venue was

improper   in     their    motion    to       dismiss    APR’s    original

complaint.        However,   unlike       a   motion     to    dismiss   for

‘improper’ venue made pursuant to Rule 12(b), the waiver



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provisions    of   Rule       12(h)    do   not   govern     a    motion   to

‘transfer’      venue     pursuant          to    the   ‘discretionary’

provisions of 28 U.S.C. § 1404(a).                See, e.g., Aalberg v.

Plan 4 Coll., Inc., No. 8:09-CV-1393-T-27EAJ, 2009 WL

3698039, at *1 (M.D. Fla. Nov. 4, 2009) (Porcelli, J.) (a

motion to transfer venue under § 1404(a) “is not a Rule

12(b)(3)    motion      and    is     not   governed    by       the   waiver

provisions of 12(h)”) (quotations and citations omitted)

; Smith v. Kyphon, 578 F. Supp. 2d 954, 957 (M.D. Tenn.

2008) (Wiseman, J.) (“[A] motion to dismiss for improper

venue pursuant to Rule 12(b) is not the same as a motion

to transfer to a more convenient venue under 28 U.S.C.

§ 1404(a) and [the latter] is therefore not subject to the

waiver provisions of Rule 12(h)”) (emphasis in original);

Mohamed v. Mazda Motor Corp., 90 F. Supp. 2d 757, 759

(E.D. Tex. 2000)        (Heartfield, J.) (noting that Fed. R.

Civ. P. 12(h) “speaking to improper venue–-not transfer of

venue for convenience of the parties and the witnesses

under Title 28 U.S.C. § 1404(a)”) (emphasis in original).



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Therefore, American Aircraft and Tolbert have not waived

their right to make this request.

    Section 1404(a) provides that a district court may

transfer a civil action to another district or division in

which it might have been brought, “For the convenience of

the parties and witnesses, in the interest of justice.”

Federal    courts      grant     considerable       deference      to    a

plaintiff’s initial choice of forum.                 See In re Ricoh

Corp., 870 F.2d 570, 573 (11th Cir. 1989).                Accordingly,

the burden is on the party requesting a                       § 1404(a)

transfer to show that the forum it suggests is more

convenient or that litigating the case there would be in

the interest of justice.         See C.M.B. Foods, Inc. v. Corral

of Middle Georgia, 396 F. Supp. 2d 1283, 1285 (M.D. Ala.

2005) (Thompson, J.).

    Determining the propriety of transfer entails two

steps.     “First, the court must determine whether the

action could originally have been brought in the proposed

transferee district court.” Id. at 1286 (quotations and



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citations omitted).           Second, the court “must determine

whether      the     action    should     be    transferred       for      the

convenience        of   the   parties     and    in   the    interest       of

justice.”      Id.

      Here, the first step is easily accomplished.                         The

Middle District of Florida has original subject-matter

jurisdiction over this action based on diversity pursuant

to 28 U.S.C. § 1332(a).              That court also has personal

jurisdiction over American Aircraft and Tolbert, a Florida

corporation and a Florida resident, respectively.                       Venue

is    proper     pursuant     to   the    provisions      of   28    U.S.C.

§ 1391(b)(1) and (2), which state that a civil action may

be brought in “a judicial district in which any defendant

resides, if all defendants are residents of the State in

which the district if located” or “in a judicial district

in which a substantial part of the events or omissions

giving rise to the claim occurred.”               American Aircraft is

a Florida corporation and has offices only in Florida;

Tolbert is a resident of Florida.               Moreover, the aircraft



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at issue was located, inspected, and delivered in Florida.

Therefore, the Middle District of Florida is a proper

venue for this action.

      The court now turns to the second inquiry: whether

convenience and the interest of justice favor a transfer.

To evaluate this concern, this court may consider a broad

range of factors, including:

          “(1) the convenience of the witnesses;
          (2) the location of relevant documents
          and the relative ease of access to
          sources of proof; (3) the convenience of
          the parties; (4) the locus of operative
          facts; (5) the availability of process
          to compel the attendance of unwilling
          witnesses; (6) the relative means of the
          parties; (7) a forum's familiarity with
          the governing law; (8) the weight
          accorded a plaintiff's choice of forum;
          and (9) trial efficiency and the
          interests of justice, based on the
          totality of the circumstances.”


Manuel v. Convergys Corp., 430 F.3d 1132, 1135 (11th Cir.

2005) (quotations and citations omitted).               The court must

not    apply    these     factors       mechanically,      but     rather

adjudicate     motions      to     transfer      “according       to     an



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‘individualized, case-by-case consideration of convenience

and fairness.’” Stewart Organization, Inc. v. Ricoh Corp.,

487 U.S. 22, 29 (1988) (quoting Van Dusen v. Barrack, 376

U.S. 612, 622 (1964)).

      Here, American Aircraft and Tolbert allege that, aside

from the parties themselves, “there are no non-party

witnesses expected other than the company in Venice[,]

Florida” that inspected the Cessna before it was delivered

to APR,     Defs.’ Mot. (Doc. No. 22) at 28, and APR does not

dispute this.       The parties also agree that the location of

documents is a non-issue given the ease of moving them.

      The convenience to the parties, on balance, counsels

in favor of a transfer.           While APR is located in Alabama,

American Aircraft and Tolbert have presented evidence

showing that APR has flown the Cessna at issue to Florida

on    19   different     occasions        since   the   closing    on      the

aircraft in July.         American Aircraft and Tolbert, on the

other hand, are based in Florida and, by their account,

“never travel to Alabama.”             Defs.’ Mot. (Doc. No. 22) at



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29.    American Aircraft and Tolbert also note that, while

APR is “a large corporate entity[] with its own corporate

jet,” American Aircraft and Tolbert stay in business by

earning commissions, which would be seriously hampered if

key staff had to travel to Alabama for trial.                     APR does

not directly dispute any of these arguments, but instead

makes a blanket argument that, “The convenience of the

parties amounts to a wash in this case” because APR would

be    inconvenienced       by    traveling       to    Florida,    just    as

American Aircraft and Tolbert would be inconvenienced by

traveling to Alabama.              However, the court finds that

American Aircraft and Tolbert’s arguments (uncontested by

APR) are persuasive and concludes that, on balance, the

convenience        of     the   parties      is       better    served     by

transferring       this    action     to   the    Middle       District    of

Florida, particularly given the parties’ relative means.

      Transfer     is   also    appropriate       given    the    locus    of

operative facts.          The Cessna was located in Florida and

was also delivered in that State; APR visited Florida to



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inspect the aircraft; and neither Tolbert nor any other

representative      of    American         Aircraft      ever   traveled   to

Alabama to discuss the transaction at issue in this case.

    The concentration of the operative facts in Florida is

significant for a second reason: it gives this court

serious    doubts    about      its    personal        jurisdiction    over

American    Aircraft      and     Tolbert.          As    noted,   American

Aircraft and Tolbert have also filed a motion to dismiss,

which    argues    that    they    lack       the     requisite    “minimum

contacts” with Alabama to be subject to suit in this

State.     See Helicopteros Nacionales de Colombia S.A. v.

Hall, 466 U.S. 408, 414 (1984) (“Due process requirements

are satisfied when in personam jurisdiction is asserted

over a nonresident corporate defendant that has ‘certain

minimum contact with [the forum] such that the maintenance

of the suit does not offend ‘traditional nations of fair

play and substantial justice.’’”) (quoting Int’l Shoe Co.

v. Washington, 326 U.S. 310, 316 (1945)).




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      In order to have minimum contacts with a forum State,

the     defendant     must     (among    other        requirements)      have

purposefully        availed    itself      of     the     “privileges     and

benefits” of that forum’s law.                   World-Wide Volkswagen

Corp.    v.    Woodson,       444   U.S.    286,        295    (1980).     APR

emphasizes     American        Aircraft’s         use     of     a   website,

accessible in Alabama, which is the means by which APR

initiated contact.           It is indisputable that “advertising

that is reasonably calculated to reach the forum may

constitute purposeful availment of the privileges of doing

business in the forum.”          U.S. S.E.C. v. Carillo, 115 F.3d

1540, 1545 (11th Cir. 1997).                However, district court

cases in this circuit strongly suggest that the mere

existence of a website that includes contact information

is not the sort of active advertising effort that would

justify the exercise of personal jurisdiction. See, e.g.,

Brannon v. Fin. Am., LLC, 483 F. Supp.2d 1136, 1140-41

(M.D. Ala. 2007) (Thompson, J.) (concluding that the

minimum-contacts         requirement            was      satisfied       where



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defendants actively targeted the plaintiffs’ business, as

opposed to merely making “an unfocused solicitation, such

as an advertisement on a nationally oriented website”)

(emphasis added); Butler v. Beer Across America, 83 F.

Supp.2d 1261, 1268 (N.D. Ala. 2000) (Hancock, J.) (finding

that “the limited degree of interactivity available on the

defendants’ website [was] ... insufficient to satisfy the

minimum contacts requirement of due process” where the

site was “closer to an electronic version of a postal

reply   card.”).       Here,    American      Aircraft     merely    gave

information about its business to Sandhills Publishing

Company for the purpose of advertising on Sandhills’s

website at <www.controller.com> and operated a website of

its own at <www.americanaircraftsales.com>. APR’s use of

these websites as a means of finding and learning about

American Aircraft does not show that American Aircraft

purposefully availed itself of the laws of Alabama by

actively advertising in this forum.




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       Further,   American     Aircraft      and    Tolbert       did    not

initiate contact with APR or visit Alabama, nor did they

have an ongoing business relationship with APR.                          The

escrow funds were never held in Alabama, and the aircraft

was never delivered in this State.           Compare Banton Indus.,

Inc. v. Dimatic Die & Tool Co., 801 F.2d 1283, 1284 (11th

Cir. 1986) (finding no personal jurisdiction where the

defendant “[was] not an Alabama corporation and ha[d] no

contacts with that state other than its sale of goods to

an Alabama resident,” nor did it “actively seek business

in Alabama”; instead the “contract and sale upon which

[the    plaintiff]    base[d]     its   claim      arose    out   of    [the

plaintiff’s]      unsolicited       order    of     goods     from      [the

defendant,” which were “tendered to [the plaintiff] in

Omaha, Nebraska”), with Brannon, 483 F. Supp. 2d at                     1140-

41 (M.D. Ala. 2007) (Thompson, J.) (finding personal

jurisdiction where the defendant “clearly directed its

activities toward the [plaintiffs], and not the other way

around”; and the defendant’s actions “evince[d] intent to



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conduct business on an ongoing basis with a particular

consumer in Alabama”).         The court is therefore doubtful

that it has personal jurisdiction over American Aircraft

and Tolbert.

       In addition, that the underlying facts transpired

almost exclusively in Florida dilutes the weight of APR’s

initial choice of forum: “[W]hen ‘the operative facts

underlying the cause of action did not occur within the

forum chosen by the Plaintiff, the choice of forum is

entitled to less consideration.’”              Gould v. Nat'l Life

Ins.    Co.,   990   F.Supp.    1354,     1358    (M.D.    Ala.    1998)

(Albritton, J.).

       Another factor this court considers is which State’s

law will be applied in this case.                For, “there is an

appropriateness ... in having the trial of a diversity

case in a forum that is at home with the state law that

must govern the case rather than having a court in some

other forum untangle problems in conflicts of laws and in

law foreign to itself.”         Gulf Oil Corp. v. Gilbert, 330



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U.S. 501, 509 (1947).           In addition, when an action is

transferred upon a request from the defendants, “the

transferee district court must ... apply the state law

that would have been applied if there had been no change

of venue.”       Van Dusen v. Barrack, 376 U.S. 612, 639

(1964).

    Therefore,        this    court       should    first    decide    which

State’s law would govern.                 A federal court sitting in

diversity    must     apply    the    choice-of-law         rules     of   the

jurisdiction     in    which    it    sits,        see,    e.g.,    Boardman

Petroleum, Inc. v. Federated Mut. Ins. Co., 135 F.3d 750,

752 (11th Cir. 1998); thus, this court will apply Alabama

choice-of-law     rules.        Here,      APR     makes    both   tort    and

breach-of-contract claims.

    In tort cases, Alabama courts apply the substantive

law of the place of injury.           See Movie Gallery US, LLC v.

Greenshields, 648 F. Supp. 2d 1252, 1262 (M.D. Ala. 2009)

(Thompson, J.).       Thus, “it is not the site of the alleged

tortious act that is relevant, but the site of the injury,



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or the site of the event that created the right to sue.”

Glass v. Southern Wrecker Sales, 990 F. Supp. 1344, 1347

(M.D. Ala. 1998 (Albritton, J.).            “[T]he place of injury

for tort claims involving financial injury is ‘the state

in which the plaintiff suffered the economic impact.’”

Movie Gallery, 648 F. Supp.2d at 1262 (quoting Glass, 990

F. Supp. at 1348).      The parties hotly dispute the site of

injury in this case.

    Alabama law demands that, “[i]n breach of contract

actions, the law of the state in which the contract was

executed determines the rights and liabilities of the

parties.”   Brown Mach. Works & Supply, Inc. v. Insurance

Co. of North American, Inc., 951 F. Supp. 988, 992 (M.D.

Ala. 1996) (De Ment, J.) (emphasis in original).                        The

parties even more closely dispute where the governing

contract was finalized, for the contract went through a

number of drafts and exchanges between the parties in

Alabama and Florida.




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       Alabama’s choice-of-law rules for torts and breach-

of-contract claims, therefore, present quite challenging

questions,      which,    fortunately,       this    court    need       not

resolve.     For, assuming that Alabama law governs these

claims (as APR contends), the court still concludes that

this case should be transferred (as American Aircraft and

Tolbert contend).

       A court must not mechanically apply the factors it

considers when determining whether a transfer of venue is

appropriate.      In this case, the overall convenience of

transferring this case and this court’s concerns about its

personal jurisdiction over American Aircraft and Tolbert

weigh most heavily.           See, e.g., C.M.B. Foods, 396 F.

Supp.2d at 1287 (“[N]otwithstanding C.M.B.’s preference

and issues of convenience, the court is concerned that a

substantial question remains as to whether the Stephensons

have had ‘minimum contacts’ with the State of Alabama such

that     this    court     can     properly      exercise       personal

jurisdiction over them in this lawsuit.              For this reason,



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the    court    concludes       that     the     action     should       be

transferred.”).         More     specifically,       convenience         and

concerns about personal jurisdiction strongly outweigh the

issue of which State’s law applies.

      Moreover, where it is substantially uncertain as to

which State’s law applies to the claims at issue, it would

seem to follow that the applicable-state-law factor should

weigh less in the court’s determination of whether a

transfer is warranted pursuant to § 1404, for even after

resolution at the trial level the issue would still remain

realistically open for, and have a significant possibility

of, contrary resolution on appeal.             Here, because the law

is so uncertain as to whether Alabama or Florida law

should govern the tort and breach-of-contract claims, the

applicable-state-law factor carries must less, if, in

fact, no weight.2


    2. Indeed, it could be argued that it would be
unwise for this court to resolve the applicable-state-law
issue since, regardless as to the resolution of that
issue, transfer is still warranted.     For, it could be
argued, that, should this court resolve the issue one way
                                            (continued...)

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    Therefore,      it   is   in    the    interest    of   justice      to

transfer this action to the Middle District of Florida.

That forum undoubtedly is more convenient and has personal

jurisdiction over the American Aircraft and Tolbert, and

it is an appropriate venue for this action.

                                   * * *

    Accordingly, it is ORDERED as follows:

    (1) Plaintiff APR, LLC’s motion to remand (Doc. No.

13) is denied.

    (2) Defendants American Aircraft Sales, Inc. and Jet

Tolbert’s alternative motion to change venue (Doc. No. 22)

is granted.

    (3) This lawsuit is transferred in its entirety to the

United States District Court for the Middle District of

Florida.




    2. (...continued)
and the Florida court, after transfer, resolve it another
way, the two courts would have been put, unnecessarily,
in conflict. Or, to put it another way, this court sees
no reason to saddle the transferee court with the
transferor court’s resolution of the issue.

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    (4) All other pending motions are left for resolution

after transfer.

    The clerk of the court is DIRECTED to take appropriate

steps to effect the transfer.

    This case is closed in this court.

    Done this the 19th day of February, 2013.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
